                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION – DETROIT

  IN THE MATTER OF:                              CHAPTER 13
  MICHAEL D FROST,                               CASE NO. 16-56354-PJS
  AUNDREA LYNN FROST,                            JUDGE PHILLIP J SHEFFERLY
  DEBTORS.
  ___________________________/

                        AFFIDAVIT OF THE CHAPTER 13 TRUSTEE

STATE OF MICHIGAN )
                           )SS
COUNTY OF WAYNE )

      NOW COMES, Krispen S. Carroll, Margaret Conti Schmidt, or Maria Gotsis for

the Chapter 13 Trustee, and declares under penalty of perjury that the following

statements are true and correct to the best of her knowledge, information and belief:

      1. That she is the duly appointed Trustee in the above captioned Chapter 13

proceedings or is a staff attorney for the Trustee.

      2.     That the records of the Trustee have been thoroughly reviewed with

regard to the above matter before this Affidavit was taken.

      3.     That the Order Adjourning Hearing entered on February 26, 2019

required the Debtors to provide the Trustee with current pay stubs, a copy of the

2017 tax returns, all W2s/1099s for tax years 2017 and 2018, verification of

current rent and short term disability income received while off work.

That the Debtors Have failed to comply with the terms of the order as the Trustee is

not in receipt of the required documents and, according to the Court’s Pacer system,


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same have not been filed to date.

      FURTHER, deponent saith not.

                                           /s/ Krispen S Carroll
                                           Krispen S. Carroll (P49817)
                                           Margaret Conti Schmidt (P42945)
                                           Maria Gotsis (P67107)
                                           Chapter 13 Trustee
                                           719 Griswold, Suite 1100
                                           Detroit, MI 48226
                                           313/962-5035
                                           notice@det13ksc.com
Subscribed and sworn to before me this
 13th day of March, 2019
/s/ Bethann Schick
Bethann Schick, Notary Public
Wayne County, Michigan
My Commission Expires: 6/14/2019




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